         Case 11-10034-bam            Doc 88      Entered 04/27/12 11:36:11            Page 1 of 17



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 4
    Entered on Docket
___________________________________________________________________
 5 April 27, 2012     UNITED STATES BANKRUPTCY COURT
 6                                      DISTRICT OF NEVADA
 7                                                ******
 8   In re:                              )                     Case No.: BK-S-11-10034-BAM
                                         )
 9                                       )                     Chapter 13
     JAMES SPICKELMIER and               )
10   KATHERIN SPICKELMIER,               )
                                         )                     Date:      October 12, 2011
11                    Debtors.           )                     Time:      9:30 a.m.
                                         )                     Courtroom: 3
12   ___________________________________ )
13                                      AMENDED OPINION1
14   BRUCE A. MARKELL, Bankruptcy Judge:
15            The hearing on this Rule 9011 Order to Show Cause did not start auspiciously.
16   After reserving a half-day for the hearing, the court waited to call the matter to allow
17   debtors’ counsel, who was subject to the order and whose tardy arrival the court
18   anticipated, extra time to arrive. After waiting almost ten minutes, the court took
19   appearances, and only one lawyer–for a creditor–entered an appearance. One debtor
20   was also present.
21            Without any appearance by the attorney or law firm named in the Order to
22   Show Cause, the court indicated it would take the matter under submission and then
23   prepared to adjourn. At this point, the debtor present asked to be heard, and the
24   court allowed him to speak. As he was expressing his concerns about the poor quality
25   of his counsel’s representation, his attorney – Jeremy Mondejar of the law firm of
26   Barry Levinson & Associates – finally arrived. He was approximately 15 minutes late.
27   As he approached the lectern, he turned on his laptop computer, balanced it in one
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              1
             To the extent that this case has been administratively closed, it is hereby reopened for the
     purpose of filing this opinion. The case may be reclosed upon the filing of this opinion.
         Case 11-10034-bam           Doc 88       Entered 04/27/12 11:36:11           Page 2 of 17



 1   hand, and began scanning its screen apparently to determine what the hearing was

 2   about. He then made his appearance.

 3           The lawyer’s subsequent performance, as detailed below, shows that he was

 4   unaware of what had been filed in the case and ignorant of the contents of the Order

 5   to Show Cause at issue. He floundered, showing an almost complete lack of

 6   preparation. It was painful for all in the courtroom, from the client who saw his

 7   money being wasted, to the court staff who all too often had seen similar

 8   performances from the same attorney, to the court who had to endure silences –

 9   sometimes approaching 30 seconds – as Mr. Mondejar attempted to understand and

10   answer the court’s questions from information on his computer screen.

11           Were there ever a time to use “fail,” as the contemporary vernacular permits, it

12   is now, and in reference to this deplorable display of legal representation: it was an

13   epic fail.

14                                               I. FACTS

15                         The Debtors’ Filing and Dismissal of the Debtors’ Case

16           The events leading up to Mr. Mondejar’s flub are not particularly unusual.

17   This case involves James and Katherin Spickelmier (the “Debtors”). They filed

18   Chapter 132 bankruptcy on January 3, 2011. Barry Levinson, of Barry Levinson &

19   Associates,3 was their counsel. On March 9, 2011, Bank of Nevada, a creditor,

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             2
21             Unless specified otherwise, all “Chapter” and “Section” references are to the Bankruptcy
     Code, 11 U.S.C. §§ 101-1532, all “Rule” references are to the Federal Rules of Bankruptcy
22   Procedure, Rules 1001-9037, and all “Civil Rule” references are to the Federal Rules of Civil
     Procedure. All “Local Rule” references are to the Local Rules of Practice of the United States
23   District Court, District of Nevada, as presently in effect.
             3
24             In this opinion, any reference to Mr. Levinson or any other attorney from his office
     specifically should be read as a reference to his firm generally. As stated in Rule 9011(c)(1)(A):
25   “Absent exceptional circumstances, a law firm shall be held jointly responsible for violations
     committed by its partners, associates, and employees.”
26            The court, however, sanctions Mr. Mondejar only for the conduct described herein, see infra
     Part II.A-B, and not for any other conduct attributable solely to Mr. Levinson or the rest of his law
27   firm. Since the events leading up to this opinion, Mr. Mondejar has left Mr. Levinson’s law firm and
     is now affiliated with a new law practice. See Bar Record of Jeremy G. Mondejar,
28   http://www.nvbar.org/find-a-lawyer/ (last visited Apr. 6, 2012).

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         Case 11-10034-bam            Doc 88      Entered 04/27/12 11:36:11           Page 3 of 17



 1   moved to dismiss or convert the Debtors’ case to another chapter. On May 6, 2011,

 2   the court entered an order granting the motion. The order gave the Debtors to

 3   convert or dismiss the case within thirty days.

 4           On June 1, 2011, the Debtors entered into a stipulation with Rick A. Yarnall

 5   (the “Chapter 13 Trustee”). The stipulation provided that the Debtors were to

 6   voluntarily convert their case to one under Chapter 7 or voluntarily dismiss their case

 7   by June 9, 2011, and that, in the event the Debtors failed to pursue either of those

 8   alternatives, the Chapter 13 Trustee would have the option to submit an ex-parte

 9   request to dismiss the case. The Debtors did not comply with the stipulation.4

10   Accordingly, at the request of the Chapter 13 Trustee, the court dismissed the

11   Chapter 13 case on June 27, 2011.

12                                    The Debtors’ Redundant Motions

13           On August 3, 2011, Mr. Levinson’s office filed an “Amended Motion to

14   Vacate Order of Dismissal” (the “First Amended Motion”). The two page motion,

15   consisting of a lengthy quotation of Civil Rule 60 and a statement of facts of about 10

16   lines, contained no legal or other analysis upon which this court could grant the relief

17   sought. The hearing on the motion was set for September 1, 2011 at 2:30 p.m. The

18   hearing was held as scheduled, but no one appeared for the Debtors. The court

19
20
              As for Mr. Levinson and the rest of his law office, this opinion describes only one of the
21   many instances where he and his law firm have provided a client with poor representation. The
     court has previously ordered all attorneys employed by Mr. Levinson’s office who do substantial
22   work on Chapter 11 cases to take eight hours of Continuing Legal Education (“CLE”) courses each
     year for two years. See Nov. 24, 2009 Order, In re Benjamin Kadosh, Case No. 09-19686; Nov. 24, 2009
23   Order, In re Signs West, Inc., Case No. 09-17213; Feb. 25, 2010 Order, In re Khoan Chea Than and Khem
     Muoy Than, Case No. 09-12939.
24            In the Thans’ Chapter 11 case, the court ordered that a trustee be appointed to investigate
     and report on the representation provided by Mr. Levinson’s office and the compensation paid by
25   the debtors in that case for legal services. See Order Appointing Trustee and Setting Status
     Conference, In re Khoan Chea Than and Khem Muoy Than, Case No. 09-12939. On February 14, 2012,
26   the Chapter 11 trustee in that case represented to the court that she will move for an order requiring
     Mr. Levinson’s office to disgorge fees pursuant to Section 329.
27
             4
              The Debtors did, however, file a motion to convert their case to one under Chapter 11 on
28   June 3, 2011.

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        Case 11-10034-bam        Doc 88     Entered 04/27/12 11:36:11       Page 4 of 17



 1   denied the motion on September 13, 2011.

 2          On September 20, 2011, Mr. Levinson’s office filed an “Amended Motion to

 3   Vacate Order of Dismissal on an Ordering [sic] Shortening Time” (the “OST

 4   Motion”) with respect to an “Amended Motion to Vacate Order of Dismissal”

 5   (the “Second Amended Motion”).

 6          The First Amended Motion, the Second Amended Motion, and the OST

 7   Motion differed only by their titles, dates, docket numbers, and hearing information.

 8   Their substance was virtually identical, indicating the use of word processing copying.

 9   Mr. Levinson’s affidavit (the “Levinson Affidavit”) submitted in support of the OST

10   Motion, contained no reference to any other evidence in the record, and added only

11   hearsay to the cause: “I feel good cause exists for the granting of an Order Shortening

12   Time to hear the Motion in an expedited manner. If the hearing is heard in the

13   ordinary course the Debtors will be liable for being garnished, creditors, and risk of

14   foreclosure on property.”

15          On September 23, 2011, the court denied the Debtors’ OST Motion because:

16   it did not comply with Local Rule 9006(a); was not sufficiently supported by facts

17   justifying the relief requested; and the relief requested had been previously requested

18   and denied.

19                                   The Order to Show Cause

20          The court’s September 23, 2011 order not only denied the OST Motion, but it

21   also set an order to show cause given the circumstances under which Mr. Levinson’s

22   office submitted it. In particular, it required Mr. Levinson’s office to appear and

23   show cause why the filing of the OST Motion did not violate Rule 9011. After the

24   court informed counsel of its concerns, the order specifically advised counsel to be

25   prepared to discuss the following at the hearing on the order to show cause:

26                (i) [W]hy he filed an OST Motion for the same motion, Dkt.
            No. 61, which was previously opposed and which this court denied on
27          September 13, 2011, Dkt. No. 65; [¶]
                  (ii) why he has failed to disclose both the previous motion, Dkt.
28          No. 61, and the order denying same, Dkt. No. 65, in his OST Motion;

                                                4
         Case 11-10034-bam             Doc 88      Entered 04/27/12 11:36:11             Page 5 of 17



 1           and [¶]
                    (iii) why he did not notify the party who opposed the previous
 2           motion in the attorney information sheet as required by Local Rule
             9006(a) (and why the date of notification of the Office of the United
 3           States Trustee was in June, when the OST Motion is dated in
             September).
 4
     The court also warned counsel that he should be prepared to address “why the OST
 5
     Motion, which does not contain any information that would help the court find a
 6
     basis upon which to grant the relief requested, does not violate [Rule] 9011.”5 In
 7
     particular, the court requested that counsel be prepared to offer specific examples,
 8
     supported by admissible evidence, of the prejudice referred to in the Levinson
 9
     Affidavit.
10
                                            The Show Cause Hearing
11
             The court scheduled the show cause hearing for October 12, 2011 at 9:30 a.m.
12
     It was the only matter on calendar, and the court had set aside a half day for it. The
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     court, having anticipated that counsel would be late, waited to call the matter almost
14
     10 minutes after its scheduled time. With only counsel for Bank of Nevada entering
15
     an appearance, the court took the matter under submission and prepared to adjourn.
16
     When one of the Debtors, Dr. James Spickelmier, asked to be heard, the court went
17
     back on the record.
18
             Dr. Spickelmier expressed his dissatisfaction with the representation he had
19
     received from Mr. Levinson’s office. He stated that counsel had previously failed to
20
     appear in court, that counsel had twice assured him that he would appear at the show
21
     cause hearing, and that counsel had received payment of over $5,000 for services
22
     rendered in this case.
23
             At approximately 9:45 a.m., almost 15 minutes after the hearing’s scheduled
24
     time, Mr. Mondejar, an attorney from Mr. Levinson’s office, interrupted Dr.
25
             5
26              On this point, the court further warned counsel that if the court found any violations of
     Rule 9011, the court could: “(i) impose monetary sanctions; (ii) impose nonmonetary sanctions,
27   such as limitations and restrictions on counsel’s ability to file cases for debtors in this court;
     (iii) order counsel to disgorge fees under the authority of § 329; or (iv) refer to the matter to the
28   Nevada State Bar for separate disciplinary proceedings.”

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         Case 11-10034-bam              Doc 88     Entered 04/27/12 11:36:11           Page 6 of 17



 1   Spickelmier and entered an appearance as set forth in the introduction above. When

 2   asked why he was 15 minutes late, Mr. Mondejar explained that he “just got caught up

 3   in traffic, and . . . was trying to look up some notes . . . on-line.”6 From that point,

 4   Mr. Mondejar continued to stare at his laptop computer as he struggled to respond to

 5   the simplest of queries by the court.

 6           As he read from his laptop, Mr. Mondejar successfully identified the matter

 7   before the court: “this is [the] order to show cause for the vacation of . . . the order to

 8   dismiss.” But Mr. Mondejar only managed to tread water for so long; he painfully

 9   floundered through the remainder of the hearing.

10           When the court asked Mr. Mondejar for his response to the Order to Show

11   Cause, eyes fixated on his computer screen, he replied:

12           Okay. We were going to convert this. We’re going to convert this to a
             Chapter 11, and he was over the debt limit for a 13. And we believe it’s
13           in the best interest, and it’s just that we . . . didn’t have the proper time
             to do all that stuff, and he’s over the debt limit, so, I mean, we just
14           need the time to do that stuff, your Honor.

15           In an attempt to shepherd Mr. Mondejar through the hearing, the court quoted

16   portions from the Order to Show Cause. Specifically, the court directed Mr.

17   Mondejar’s attention to its request for admissible evidence demonstrating the

18   existence of the prejudice referred to in the Levinson Affidavit, the prejudice which

19   supposedly necessitated an order shortening time. The only evidence Mr. Mondejar

20   was prepared to offer, after consulting with Dr. Spickelmier during the hearing, was

21   that a notice of foreclosure had been placed on the Debtors’ door two weeks before

22   the hearing. This action, however, would have occurred after the filing of the OST

23   Motion.7

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             6
25          The court, however, did not receive a phone call or any other notification that Mr.
     Mondejar would be late to the hearing.
26           7
                 The court pointed out that a foreclosure notice posted on the Debtors’ property two weeks
27   before the hearing would have been after the September 20, 2011 OST Motion and thus did not
     speak to the prejudice referred in the Levinson Affidavit. Still, Mr. Mondejar did not offer any
28   additional evidence of the alleged prejudice. As to the risk of garnishment, Mr. Mondejar stated:

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         Case 11-10034-bam             Doc 88       Entered 04/27/12 11:36:11              Page 7 of 17



 1           Similarly disappointing was Mr. Mondejar’s explanation for why Mr.

 2   Levinson’s office had filed a motion, to be heard on shortened time, that was identical

 3   to a previous motion, which the court had denied, and why the later filing contained

 4   no mention of the previous denial. He had none. All he had was what he could read

 5   from his computer screen.8 This was the lowest moment in attorney representation

 6   the court has ever witnessed.

 7                        II. ANALYSIS OF RULE 9011 VIOLATIONS

 8                                    A. The Requirements of Rule 9011

 9           Rule 9011 addresses representations made by all who file or appear in

10   bankruptcy court:

11                  By presenting to the court (whether by signing, filing,
             submitting, or later advocating) a petition, pleading, written motion, or
12           other paper, an attorney or unrepresented party is certifying that to the
             best of the person’s knowledge, information, and belief, formed after
13           an inquiry reasonable under the circumstances, —
                            (1) it is not being presented for any improper purpose,
14                  such as to harass or cause unnecessary delay or needless increase
                    in the cost of litigation;
15                          (2) the claims, defenses, and other legal contentions
                    therein are warranted by existing law or the establishment of
16                  new law;
                            (3) the allegations and other factual contentions have
17                  evidentiary support or, if specifically so identified, are likely to
                    have evidentiary support after a reasonable opportunity for
18                  further investigation or discovery; and
                            (4) the denials of factual contentions are warranted on
19                  the evidence or, if specifically so identified, are reasonably based
                    on a lack of information or belief.
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21
22
23
     “they haven’t started any garnishment actions against him.”
24           8
              Though he was unable to satisfactorily respond to the court’s Order to Show Cause, Mr.
25   Mondejar nonetheless implored the court not to order complete disgorgement of all fees the
     Debtors paid to Mr. Levinson’s office. He stated: “I would ask that you don’t do that, your Honor.
26   You know, I was just hired on . . . a few weeks ago.” While he acknowledged that he represented
     Mr. Levinson’s office and that the firm had been the Debtors’ counsel of record since before he
27   took over the case, Mr. Mondejar continued to offer an excuse for his lack of preparation: “It’s just,
     you know, I’m in charge of the case now, and . . . it’s been a little difficult to get on top of everything
28   and put this all in order, you know, in the allotted time.”

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         Case 11-10034-bam             Doc 88       Entered 04/27/12 11:36:11             Page 8 of 17



 1   Rule 9011(b).9

 2           A bankruptcy court may independently assess violations of Rule 9011. Rule

 3   9011(c)(1)(B) (“On its own initiative, the court may enter an order describing the

 4   specific conduct that appears to violate subdivision (b) and directing an attorney, law

 5   firm, or party to show cause why it has not violated subdivision (b) with respect

 6   thereto.”).

 7           Under Rule 9011(b)(3), bankruptcy courts have the authority to sanction

 8   attorneys who present, through signing, filing, submitting, or later advocating, a

 9   pleading that is frivolous. Winterton v. Humitech of N. Cal., LLC (In re Blue Pine, LLC),

10   457 B.R. 64, 75 (B.A.P. 9th Cir. 2011). According to the Bankruptcy Appellate Panel

11   of the Ninth Circuit, “[t]he word ‘frivolous,’ when used in connection with sanctions

12   denotes a filing that is both baseless—lacks factual foundation—and made without

13   reasonable competent inquiry.” Id. (citing Townsend v. Holman Consulting Corp., 929

14   F.2d 1358, 1362 (9th Cir. 1990)). An attorney, then, “has a duty to conduct a

15   reasonable factual investigation as well as to perform adequate legal research that

16   confirms that his position is warranted by existing law (or by a good faith argument

17   for a modification or extension of existing law).” Id. (citing Christian v. Mattel, Inc., 286

18   F.3d 1118, 1127 (9th Cir. 2002)). “Thus, a finding that there was no reasonable

19   inquiry into either the facts or the law is tantamount to a finding of frivolousness.”

20   Id. (citing Townsend, 929 F.2d at 1362).

21           When considering whether to impose sanctions, the court measures the

22   conduct of attorneys who appear before it objectively. G.C. & K.B. Invs., Inc. v.

23   Wilson, 326 F.3d 1096, 1109 (9th Cir. 2003) (citing Townsend, 929 F.2d at 1362). “The

24   standard is reasonableness.” Id. (citing Zaldivar v. City of Los Angeles, 780 F.2d 823,

25   829-30 (9th Cir. 1986), overruled on other grounds by Cooter & Gell v. Hartmarx Corp., 496

26
             9
              The language of Rule 9011 parallels that of Civil Rule 11. Therefore, courts analyzing
27   sanctions under Rule 9011 may appropriately rely on cases interpreting Civil Rule 11. See Orton v.
     Hoffman (In re Kayne), 453 B.R. 372, 381 (B.A.P. 9th Cir. 2011) (citing Marsch v. Marsch (In re Marsch),
28   36 F.3d 825, 829 (9th Cir. 1994)).

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        Case 11-10034-bam           Doc 88     Entered 04/27/12 11:36:11          Page 9 of 17



 1   U.S. 384 (1990)). The reasonableness of an attorney’s conduct, in turn, is measured

 2   against that “of a competent attorney admitted to practice before the involved court.”

 3   In re Kayne, 453 B.R. at 382 (citing Smyth v. City of Oakland (In re Brooks-Hamilton), 329

 4   B.R. 270, 283 (B.A.P. 9th Cir. 2005) (quoting Valley Nat’l Bank of Ariz. v. Needler (In re

 5   Grantham Bros.), 922 F.2d 1438, 1441 (9th Cir. 1991) (in turn citing Zaldivar, 780 F.2d

 6   at 829-30))), aff’d in part, rev’d in part on other grounds, and remanded, 271 F. App’x 654

 7   (9th Cir. 2008). As a consequence, an attorney may act negligently and still violate

 8   Rule 9011. In re Schivo, 462 B.R. 765, 777 (Bankr. D. Nev. 2011) (citations omitted);

 9   In re Smith, 462 B.R. 783, 793 (Bankr. D. Nev. 2011) (citations omitted). “[T]he

10   subjective intent of the movant . . . is of no moment.” Wilson, 326 F.3d at 1109

11   (quoting Zaldivar, 780 F.2d at 830) (original modifications and quotations omitted).

12   “[T]he attorney must only fail to meet” the objective standard. In re Schivo, 462 B.R. at

13   777.

14           While subdivision (b) of Rule 9011 provides the required standard,

15   subdivision (c) governs the nature of sanctions the court may impose. Rule 9011(c)

16   (“If, after notice and a reasonable opportunity to respond, the court determines that

17   subdivision (b) has been violated, the court may, subject to the conditions stated

18   below, impose an appropriate sanction . . . .”). See also In re Blue Pine, 457 B.R. at 75.

19   Sanctions for violations of Rule 9011 are to be deterrent in nature. Rule 9011(c)(2)

20   (“A sanction imposed for violation of this rule shall be limited to what is sufficient to

21   deter repetition of such conduct or comparable conduct by others similarly

22   situated.”). See also In re Brooks-Hamilton, 329 B.R. at 283. However, given the various

23   forms improper conduct may assume, a court imposing sanctions under Rule 9011

24   “has wide discretion in determining what sanction” should properly be imposed. Id.

25   at 285 (citing Kowalski-Schmidt v. Forsch (In re Giordano), 212 B.R. 617, 622 (B.A.P. 9th

26   Cir. 1997), aff’d in part, rev’d in part on other grounds, 202 F.3d 277 (9th Cir. 1999)

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        Case 11-10034-bam             Doc 88      Entered 04/27/12 11:36:11             Page 10 of 17



 1   (unpublished table decision)).10

 2                                        B. Violations of Rule 9011

 3                                  1. Violations of Rule 9011(b)(2)

 4           Mr. Levinson’s signature on the OST Motion and the Levinson Affidavit raise

 5   significant questions under Rule 9011(b)(2). Paragraph (2) of Rule 9011(b) requires

 6   that “the claims, defenses, and other legal contentions” contained within a motion be

 7   “warranted by existing law or the establishment of new law.” Rule 9011(b)(2). By

 8   signing, filing, submitting, or later advocating a motion, an attorney certifies that to

 9   the best of his “knowledge, information, and belief, formed after an inquiry

10   reasonable under the circumstances” the motion complies with Paragraph (2). Rule

11   9011(b). This certification extends to the “duty to conduct a reasonable factual

12   investigation as well as perform adequate legal research that confirms his position is

13   warranted by existing law (or by a good faith argument for a modification or

14   extension of existing law).” In re Blue Pine, 457 B.R. at 75 (citing Christian, 286 F.3d at

15   1127). The court assesses a potential violation of Rule 9011(b)(2) against the

16   reasonably competent attorney standard. In re Grantham Bros., 922 F.2d at 1441.

17
18           10
                The court is cognizant of the American Bar Association Standards for Imposing Lawyer
     Sanctions (the “ABA Standards”), particularly the section of the ABA Standards that addresses
19   aggravating and mitigating circumstances. The court has considered these standards to the extent
20   they apply. As discussed above, the imposition of sanctions is within the court’s sound discretion.
     The court, therefore, declines to “slavishly intone[]” the ABA Standards in situations where they are
21   not fully applicable. In re Brooks-Hamilton, 400 B.R. 238, 255 (B.A.P. 9th Cir. 2009) (Markell, J.,
     concurring). As recently recognized by the Ninth Circuit Bankruptcy Appellate Panel, the ABA
22   Standards are sometimes a “helpful guide;” however, consideration of the ABA Standards is not
     mandatory, as this would be “inconsistent with the exercise of discretion needed for a bankruptcy
23   court to remedy attorney misconduct . . . .” In re Nguyen, 447 B.R. 268, 277 (B.A.P. 9th Cir. 2011)
     (en banc).
24             Here, Mr. Mondejar fails in his attempt to justify his behavior because he had been hired a
     few weeks before the hearing, and he had experienced difficulty “ get[ting] on top of everything and
25   put[ting] this all in order . . . in the allotted time.” The court acknowledges that an attorney is often
     forced to manage an overwhelming case load under strict time constraints. However, even in light of
26   this difficulty, the court cannot conjure up any excuse for an attorney who prepares for a hearing as
     he is walking into the courtroom, or worse, during the hearing itself. This is simply unacceptable.
27   The court also finds this explanation unpersuasive in light of the fact that this court previously
     ordered Mr. Levinson’s Office, including Mr. Mondejar, who was employed by the firm at that time,
28   to take bankruptcy-related CLE courses, see supra note 3.

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        Case 11-10034-bam        Doc 88    Entered 04/27/12 11:36:11       Page 11 of 17



 1          Here, a reasonably competent attorney would not have submitted the OST

 2   Motion or the Levinson Affidavit without significant changes and additions. The

 3   reasonably competent attorney would not have moved for an order shortening time

 4   on a motion identical to one the court had previously denied on regular time without

 5   citing to legal authority that supported the filing. If he or she didn’t know of any such

 6   authority, that attorney would have conducted legal research. If, after having done so,

 7   he or she remained without an argument that the filing was supported by existing law,

 8   the reasonably competent attorney would have, at a minimum, offered an analysis that

 9   a proposed modification or extension of existing law supported the filing.

10          The reasonably competent attorney would not have simply changed the date

11   on a previously denied motion and re-submitted it to the court without more than a

12   belief that somehow the very circumstances that were insufficient to justify the relief

13   requested in the first motion were somehow, in the second motion, sufficient to

14   justify an order shortening time. Nor would the reasonably competent attorney have

15   advocated on behalf of such a motion without some modicum of knowledge as to its

16   possible legal basis.

17          Unlike the reasonably competent attorney, Mr. Levinson filed an OST Motion

18   that included a lengthy quotation of Civil Rule 60 and a statement of facts of about 10

19   lines, but no legal analysis whatsoever. Mr. Levinson did not cite to any legal

20   authority that permitted the filing of a motion for an order shortening time for a

21   motion identical to one the court had already heard, and denied, on regular time.

22   Worse, Mr. Levinson neglected to disclose the court’s previous denial altogether. Mr.

23   Levinson simply made a few modifications to the previously denied motion, changing

24   the title, date, and hearing information, and somehow expected that the court would

25   reward his persistence by granting, on shortened time, the relief sought in a motion

26   the court previously heard and denied on regular time.

27          Mr. Mondejar’s conduct in this matter fares no better. It is also a violation of

28   Rule 9011 when an attorney improperly “later advocat[es]” a pleading that is

                                                11
        Case 11-10034-bam            Doc 88       Entered 04/27/12 11:36:11            Page 12 of 17



 1   frivolous. Again, the reasonably competent attorney standard applies, and Mr.

 2   Mondejar’s conduct fails to satisfy this standard. Completely unprepared, and without

 3   any coherent response to the court’s Order to Show Cause, Mr. Mondejar showed no

 4   familiarity with the matter before the court, much less a command of a possible legal

 5   basis authorizing the filing at issue here. He struggled even to learn the nature of the

 6   document that gave rise to the hearing, and knew nothing of its contents when he

 7   made his appearance. Given that Mr. Mondejar didn’t know what his position was in

 8   the first place, the court does not see how he could have fulfilled his “duty to conduct

 9   a reasonable factual investigation as well as perform adequate legal research that

10   confirms his position [wa]s warranted by existing law (or by a good faith argument for

11   a modification or extension of existing law).” See In re Blue Pine, 457 B.R. at 75 (citing

12   Christian, 286 F.3d at 1127).

13           For these reasons, Mr. Levinson violated Rule 9011(b)(2) when he filed the

14   OST Motion and accompanying Levinson Affidavit, and Mr. Mondejar violated Rule

15   9011(b)(2) when he advocated on behalf of those frivolous papers.11

16                                  2. Violations of Rule 9011(b)(3)

17           The Levinson Affidavit also raises questions under Rule 9011(b)(3). Paragraph

18   (3) of Rule 9011(b) requires that “the allegations and other factual contentions”

19   contained within a filing “have evidentiary support or, if specifically so identified, are

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             11
21              These disciplinary proceedings were conducted after dismissal of the debtors’ chapter 13
     case. After the hearing discussed in the text, Mr. Levinson filed a Chapter 11 voluntary petition on
22   behalf of the Debtors on December 14, 2011, In re James Spickelmier and Katherin Spickelmier, Case No.
     11-29093, which further convinces the court that the filings at issue here utterly lacked any basis in
23   law, as the filing of a new bankruptcy case instead of the OST Motion would seem to have been a
     viable option.
24            In the Debtors’ Chapter 11 case, Mr. Levinson failed to appear at the initial status
     conference hearing and the hearing on the application to employ Mr. Levinson’s office under a
25   general retainer. Both hearings were scheduled for February 14, 2012 at 9:00 a.m. The court
     continued the status conference but denied the application to employ without prejudice. In addition,
26   the court ordered Mr. Levinson’s office to disgorge the $3,600 paid by the Debtors as a retainer for
     legal services related to their Chapter 11 case. From the filings submitted in that case, it appears Mr.
27   Levinson’s office received the retainer fee during the pendency of the Debtors’ prior Chapter 13
     bankruptcy case.
28            The Debtors have sought and obtained replacement counsel to handle their Chapter 11 case.

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        Case 11-10034-bam            Doc 88      Entered 04/27/12 11:36:11           Page 13 of 17



 1   likely to have evidentiary support after a reasonable opportunity for further

 2   investigation or discovery.” Rule 9011(b)(3). By signing, filing, submitting, or later

 3   advocating a motion, an attorney certifies that the motion complies with Paragraph

 4   (3) to the best of his “knowledge, information, and belief, formed after an inquiry

 5   reasonable under the circumstances . . . .” Rule 9011(b). As it does in the context of

 6   Rule 9011(b)(2), the court applies the reasonably competent attorney standard to

 7   assess a potential violation of Rule 9011(b)(3). In re Grantham Bros., 922 F.2d at 1441.

 8           Had the reasonably competent attorney submitted an affidavit stating that: “If

 9   the hearing is heard in the ordinary course the Debtors will be liable for being

10   garnished, creditors, and risk of foreclosure on property,” she would have supported

11   those allegations with some kind of proof. Even if the reasonably competent attorney

12   had discovered, post-filing, that her affidavit and the related motion, as written, lacked

13   evidentiary support, she would have moved to withdraw it; or, if only a portion of the

14   papers lacked evidentiary support, she would have amended them accordingly. If,

15   after all this, the reasonably competent attorney was confronted with an order to

16   show cause that requested specific examples, supported by admissible evidence, of the

17   prejudice referred to the affidavit, she would have, at least, arrived at the hearing

18   prepared to address the court’s concerns.

19           Neither Mr. Levinson’s nor Mr. Mondejar’s conduct in this matter complies

20   with what Rule 9011(b)(3) and the reasonably competent attorney standard requires.

21   Mr. Levinson’s Affidavit refers to prejudice. Yet, even at the show cause hearing, Mr.

22   Mondejar was unable to offer any evidence of the alleged prejudice that existed at the

23   time of the filing of the Levinson Affidavit.12 Mr. Mondejar admitted at the show

24   cause hearing that no garnishment actions had been commenced, and he conceded

25   that he could not provide any other proof. This showing, or non-showing, for lack of

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                The court places no weight on Mr. Mondejar’s representation that a notice of foreclosure
27   was posted on the door of the Debtors’ property two weeks before the hearing, which would have
     been after the September 20, 2011 OST Motion. An attorney cannot hope that subsequent events
28   will cure a false statement.

                                                      13
       Case 11-10034-bam         Doc 88     Entered 04/27/12 11:36:11         Page 14 of 17



 1   a better word, convinces the court that Mr. Levinson signed the Levinson Affidavit

 2   without any appropriate evidentiary support. He apparently believed that he would

 3   receive a “pass” for making up events. He does not.

 4          For these reasons, Mr. Levinson violated Rule 9011(b)(3) when he filed the

 5   OST Motion and accompanying affidavit, and Mr. Mondejar violated Rule 9011(b)(3)

 6   when he advocated on behalf of those papers.

 7             III. DISGORGEMENT OF FEES UNDER SECTION 329

 8          Section 329(b) authorizes the court to “examine the reasonableness of a

 9   debtor’s attorney fees and, if such compensation exceeds the reasonable value of any

10   such services, the court may cancel any such agreement, or order the return of any

11   such payment, to the extent excessive.” Hale v. U.S. Trustee, 509 F.3d 1139, 1147 (9th

12   Cir. 2007) (internal modifications and quotations omitted). The court’s Order to

13   Show Cause also put Mr. Levinson’s office on notice of a potential disgorgement

14   under this section. It stated that one of the sanctions the court could impose was an

15   “order . . . to disgorge fees under the authority of 11 U.S.C. § 329.”

16          The reasonable value of services rendered by a debtor’s attorney “is a question

17   of fact to be determined by the particular circumstances of each case. The requested

18   compensation may be reduced if the court finds that the work done was excessive or

19   of poor quality.” 3 COLLIER ON BANKRUPTCY ¶ 329.04[1] (Alan N. Resnick and

20   Henry J. Sommer, eds., 16th ed. 2011) (citing Hale, 509 F.3d 1139). See also Hale v.

21   U.S. Trustee (In re Basham), 208 B.R. 926, 933 (B.A.P. 9th Cir. 1997) (affirming

22   bankruptcy court’s order to disgorge fees that were unreasonable given the lack of

23   contemporaneous time records and the failure to provide competent and complete

24   representation).

25          The work counsel performed for the Debtors in this case reflects a lack of

26   competence and diligence that does not deserve to be compensated. Initially, Mr.

27   Levinson’s office filed a case for Debtors for which they were not eligible. Their

28   debts clearly exceeded the debt limit for Chapter 13; although the applicable debt

                                                14
        Case 11-10034-bam           Doc 88      Entered 04/27/12 11:36:11            Page 15 of 17



 1   limit at the time of filing permitted only $360,475 of unsecured debt, the Debtors’

 2   schedules, prepared by Mr. Levinson’s office, listed a total of the non-contingent,

 3   liquidated unsecured debts of $583,888.13

 4           After filing for Debtors a petition for relief under a chapter for which they

 5   were not eligible, Mr. Levinson’s office negotiated a stipulation for conversion or

 6   dismissal with the Chapter 13 Trustee, but failed to comply with it, resulting in the

 7   dismissal of the Debtors’ case. Counsel then attempted to remedy this failing by

 8   moving for reconsideration, but he did not appear at the hearing on the motion.

 9   Thereafter, counsel moved for an order shortening time on a motion identical to the

10   one the court previously heard and denied on regular time, without citing to any legal

11   authority that supported the filing. Worse, when the court held the hearing on the

12   Order to Show Cause issued with respect to these filings, counsel failed to provide

13   any support for its actions, despite being warned to come to court prepared to

14   provide such support. Given the poor quality of the services rendered by Mr.

15   Levinson’s office in this matter, the court finds that the reasonable value of those

16   services is zero, that is, $0.00. Pursuant to Section 329, which provides the court a

17   separate and independently sufficient basis upon which it can order the disgorgement

18   of fees, the court hereby orders that Mr. Levinson’s office disgorge all monies paid by

19   the Debtors in this Chapter 13 case.

20                                  IV. SANCTIONS IMPOSED

21           Sanctions under Rule 9011 “shall be limited to what is sufficient to deter

22   repetition of such conduct or comparable conduct by others similarly situated.” Rule

23   9011(c)(2). In this case, extensive sanctions are warranted. Not only are the

24   violations egregious, but this court has long had compliance and competency

25   problems with Mr. Levinson, Mr. Mondejar, and Mr. Levinson’s office. See supra

26   notes 3 and 11. As a result, significant actions are necessary to both deter future

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              This consisted of $185,279 of unsecured debts listed in Schedule F, and $398,609 listed in
28   Schedule D as the unsecured portion of secured claims.

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       Case 11-10034-bam        Doc 88     Entered 04/27/12 11:36:11        Page 16 of 17



 1   frivolous conduct, and to protect unsuspecting clients of these lawyers.

 2          Accordingly, for the reasons set forth above, the court hereby sanctions Mr.

 3   Levinson’s office as follows:

 4          (1)    Mr. Levinson, Mr. Mondejar, and the law office of Barry Levinson &

 5                 Associates are hereby publicly reprimanded through this published

 6                 opinion.

 7          (2)    Pursuant to Section 329, Mr. Levinson’s office must disgorge all fees

 8                 paid by the Debtors in this Chapter 13 case to the Debtors’ new

 9                 counsel within 21 days of the date of entry of this opinion. Mr.

10                 Levinson’s office is to file proof of disgorgement, in the form of an

11                 affidavit or declaration, with the court within 28 days of the date of

12                 entry of this opinion. A detailed statement of all monies the Debtors

13                 paid to Mr. Levinson’s office for legal services related to their Chapter

14                 13 case shall accompany the proof of repayment.

15          (3)    With the filing of each new Chapter 11 bankruptcy petition by Mr.

16                 Levinson’s office for the three years commencing on the date this

17                 opinion is entered, the attorney who signs the petition shall

18                 simultaneously file proof of compliance, in the form of an affidavit or

19                 declaration, with the court’s orders requiring completion of CLE

20                 courses. See supra note 3.

21          (4)    If, during the three years following the date of this opinion, any litigant

22                 or court files any motion or action questioning the propriety or

23                 competency of the actions of Mr. Levinson or of Mr. Mondejar

24                 (regardless of the firm which employs either), whether such motion or

25                 action is commenced under Rule 9011, pursuant to any similar state or

26                 federal rule, or pursuant to a court’s inherent powers, Mr. Levinson and

27                 Mr. Mondejar, as the case may be, shall provide, within 48 hours of

28                 service of such a motion or action, a copy of this opinion to court and

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       Case 11-10034-bam          Doc 88   Entered 04/27/12 11:36:11       Page 17 of 17



 1                 counsel.

 2          (5)    The court will refer this matter to the State Bar of Nevada, so that it

 3                 may determine whether this case warrants further disciplinary

 4                 proceedings.

 5          Noncompliance with any of the above may result in the imposition of

 6   additional sanctions or a finding of contempt of court.

 7                                   V. CONCLUSION

 8          Based on the foregoing, the court hereby ORDERS Mr. Levinson’s office, Mr.

 9   Levinson, and Mr. Mondejar SANCTIONED as set forth above.

10          This opinion constitutes the court’s findings of fact and conclusions of law

11   under Rule 7052, made applicable here by Rule 9014(c).

12
13   Copies sent to:

14   CM/ECF ELECTRONIC NOTICING

15   BNC MAILING MATRIX

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